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IN THE UNITED STATES DISTRICT COURT f "

FOR THE WESTERN DISTRICT OF TENNESSEE

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ROB&HYH.D€ ’W
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\‘V-L" vt #N, Mh.-Ji`PH;S
UNITED sTATEs oF AMERICA,

Plaintiff,
VS. NO. 04-20173-Ma
JERRY SIMS,

Defendant.

 

ORDER

 

Before the court is the defendant's April 25, 2005 Motion to
Continue Self Surrender Date, Which is presently scheduled for
April 29, 2005 to the Federal Correctional Institution, Forrest
City, Arkansas.

For good cause shown, the motion is granted and the
defendant's surrender date shall be extended for thirty {30}
days.

- ' 2¢`@ -
It is so ORDERED this day of April, 2205.

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S EL H. MAYS, JR:
UN TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20173 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

